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                           UNITED STATES DISTRICT COURT FOR THE

                             EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )            Case No.       1:11-cr-00269 AWI DLB
                              )
     vs.                      )            ORDER OF DETENTION FOLLOWING
                              )            REVOCATION OF PREVIOUSLY SET
MOHAMMAD MICHAEL ODEH,        )            CONDITIONS OF RELEASE
                              )
               Defendant.     )
______________________________)

A.      Order for Revocation and Detention

        After conducting a hearing pursuant to 18 U.S.C. § 3148(b) on the government's
        motion for revocation of the previous order for release, the Court orders the
        previous conditions of pretrial release revoked and this defendant detained.

B.      Statement of Reasons for the Revocation and Detention

        The Court orders the revocation of pretrial release conditions and the
        defendant's detention because it finds:

         X     (1)   There is probable cause to believe this defendant has committed
                     a Federal, State, or local crime while on release.

                                              or

               (2)   There is clear and convincing evidence that this defendant has
                     violated a condition or conditions of release.

                                             and

               (3)   That based on the factors set forth in § 3142(g), there is no
                     condition or combination of conditions of release that will assure
                     that this defendant will not flee or pose a danger to the safety of
                     any other person or the community; or,

          X    (4)   That this defendant is unlikely to abide by any condition or
                     combination of conditions of release.

               (5)   That this defendant has not rebutted the rebuttable presumption
                     contained in 18 U.S.C. § 3148(b) that no condition or combination
                     of conditions will assure that the person will not pose a danger
                     to the safety of any other person or the community based upon the
                     existence of probable cause to believe that, while on release, the
                     defendant committed a Federal, State, or local felony.

IT IS SO ORDERED.

     Dated:   August 31, 2012                      /s/ Sheila K. Oberto
                                         UNITED STATES MAGISTRATE JUDGE
